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      Counsel for Plaintiffs Cedric de Lisser,
11    Christopher Moser, and Michael Michelin, in
      their capacity as the Trustees of the Cred
12    Liquidation Trust
13
14
                                  UNITED STATES DISTRICT COURT
15                              NORTHERN DISTRICT OF CALIFORNIA
                                     SAN FRANCISCO DIVISION
16
     CEDRIC DE LISSER, CHRISTOPHER MOSER, )              Case No. 3:23-cv-00243-JD
17
     and MICHAEL MICHELIN, in their capacity as )
18   the Trustees of the Cred Liquidation Trust,     )    [Removal from Superior Court of California,
                                                     )       County of San Francisco, Case No.
19                  Plaintiffs,                      )       CGC-22603638]
             v.                                      )
20                                                       PLAINTIFFS’ CERTIFICATION OF
                                                     )
21   LOCKTON COMPANIES LLC, d/b/a                    )   CONFLICTS AND INTERESTED
                                                         ENTITIES OR PERSONS
     LOCKTON INSURANCE BROKERS LLC,                  )
22   a Missouri limited liability company; LOCKTON )
23   COMPANIES, LLC- PACIFIC SERIES, d/b/a           )   State Action Filed: December 22, 2022
     LOCKTON INSURANCE BROKERS LLC, a                )
24   Missouri limited liability company; and DOES 1- )
     10, inclusive.                                  )
25                    Defendants.                    )
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               PLAINTIFFS’ CERTIFICATION OF CONFLICTS AND INTERESTED ENTITIES OR PERSONS
                                           CASE NO. 3:23-cv-00243-JD
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 1                         CERTIFICATION PURSUANT TO CIVIL LOCAL RULE 3-15
 2          Pursuant to Civil Local Rule 3-15, Cedric De Lisser, Christopher Moser, and Michael Michelin,
 3   in their capacity as the Trustees (the “Trustee”) of the Cred Liquidation Trust (the “Trust”), certify that
 4   as of this date and to the best of their knowledge, there is no conflict to report. The Trustees further state
 5   that the Trust is being administered by Mr. de Lisser, Mr. Moser and Mr. Michelin as Trustees. In
 6   addition, Kyle Wang, Jamie Shiller, and Eric Schurman comprise an advisory board to the Trust.
 7   Moreover, the Trust Assignors (as such term is defined in the Trustee’s First Amended Complaint (ECF
 8   No. 14-1)) are Charles Lee, Chi King Wu, Christopher Moser, Gunther Baugh, Joseph Shull, Julius
 9   Hudec, Koji Kanie, Kyle Wang, Olatunde Lapido, Patrick Archambeau, Robin Houck and Teppei
10   Miyauchi.
11          The Trustees submit that the foregoing disclosure is adequate to satisfy Civil Local Rule 3-15.
12   Dated: March 1, 2023                            Respectfully submitted,
13
14                                                     /s/ Craig C. Daniel____________
                                                       _____________________________________________
15                                                     Craig C. Daniel (State Bar No. 212588)
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18
                                                       -and -
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                                                       Counsel for Plaintiffs Cedric de Lisser, Christopher
26                                                     Moser, and Michael Michelin, in their capacity as the
                                                       Trustees of the Cred Liquidation Trust
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                 PLAINTIFFS’ CERTIFICATION OF CONFLICTS AND INTERESTED ENTITIES OR PERSONS
                                           CASE NO. 3:23-cv-00243-JD
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 1                                      CERTIFICATE OF SERVICE
 2          The undersigned hereby certifies that the foregoing document was filed electronically in
 3   compliance with Civil L.R. 5-1 and will be served upon all counsel of record for the parties who have
 4   consented to electronic service in accordance with Civil L.R. 5-1 via the Court’s ECF System.
 5
 6   Dated: March 1, 2023                        By:    /s/ Craig C. Daniel
                                                                Craig C. Daniel
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               PLAINTIFFS’ CERTIFICATION OF CONFLICTS AND INTERESTED ENTITIES OR PERSONS
                                         CASE NO. 3:23-cv-00243-JD
